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  9                          UNITED STATES DISTRICT COURT
 10                        CENTRAL DISTRICT OF CALIFORNIA
 11
      LONNY PAUL JOHNSON, an              )
 12   individual,                         ) CASE NO. CV 07-07397 (JFW)(CWx)
                                          )
 13                Plaintiff,             )
 14                                       )
             vs.                          )
 15                                       )
                                          ) DISMISSAL WITH PREJUDICE OF
      HALO CUSTOM GUITARS, INC., a ) COMPLAINT AND COUNTERCLAIM
 16   California corporation; WAYLON      )
      FORD, an individual; and DOES 1-10, )
 17   inclusive,                          )
 18                                       )
                   Defendants.            )
 19                                       )
                                          )
 20                                       )
 21
 22         THIS     DISMISSAL        IS   MADE       PURSUANT        TO       THE   PARTIES
 23   STIPULATION FOR DISMISSAL. The Court, having considered the stipulation of
 24   the parties Plaintiff LONNY PAUL JOHNSON and Defendants HALO CUSTOM
 25   GUITARS, INC. and WAYLON FORD through their respective attorneys of record,
 26   hereby enters, pursuant to Federal Rule of Civil Procedure 41(a)(1), a dismissal with
 27   prejudice of the entire Complaint filed by Plaintiff, subject to the terms of the parties’
 28   confidential Settlement Agreement. Each side will bear its own costs, including
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  1   attorneys’ fees associated with the Complaint. This Court shall retain subject matter
  2   and personal jurisdiction over the parties for the purpose of interpretation or
  3   enforcement of the confidential Settlement Agreement between the parties.
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  6   Dated: September 10, 2008             __________________________
  7                                         John F. Walter, U.S. District Judge
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